Case 2:25-cv-00849-EP-JRA   Document 45   Filed 04/07/25   Page 1 of 15 PageID: 7024




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


   NOVARTIS AG, NOVARTIS
   PHARMACEUTICALS CORPORATION,                 No. 25-CV-00849-EP-JRA
              Plaintiffs,
         v.
   NOVADOZ PHARMACEUTICALS LLC,
   MSN PHARMACEUTICALS INC., MSN
   LABORATORIES PRIVATE LIMITED,
              Defendants.


    DEFENDANTS’ MEMORANDUM OF LAW IN RESPONSE TO THE
      COURT’S ORDER FOR BRIEFING ON RECONSIDERATION
Case 2:25-cv-00849-EP-JRA             Document 45          Filed 04/07/25      Page 2 of 15 PageID: 7025




                                     TABLE OF CONTENTS
  PRELIMINARY STATEMENT ...................................................................1
  ARGUMENT..............................................................................................2
   I. Legal Standard. ..................................................................................2
    II. The Court Should Exercise Its Discretion to Deny Novartis’s Requested
    Preliminary Injunction. ...............................................................................4
    III. The Court Should Suspend the Preliminary Injunction and Issue an
    Indicative Ruling........................................................................................7
  CONCLUSION...........................................................................................9




                                                       i
Case 2:25-cv-00849-EP-JRA             Document 45           Filed 04/07/25      Page 3 of 15 PageID: 7026




                                   TABLE OF AUTHORITIES
                                                                                                    Page(s)
  Cases
  DeFranco v. Wolfe,
    387 F. App’x 147 (3d Cir. 2010) ................................................................ 6

  Index Newspapers LLC v. City of Portland,
     2022 WL 72124 (D. Or. Jan. 7, 2022) ..................................................... 8, 9
  Ivan A. v. Anderson,
     2021 WL 858608 (D.N.J. Mar. 8, 2021) ...................................................... 8
  Max’s Seafood Cafe ex rel. Lou-Ann, Inc. v. Quinteros,
    176 F.3d 669 (3d Cir. 1999)................................................................... 4, 6
  Marsden v. Select Med. Corp.,
    2007 WL 518556 (E.D. Pa. Feb. 12, 2007) .............................................. 3, 6

  Ortho Pharm. Corp. v. Amgen, Inc.,
     887 F.2d 460 (3d Cir. 1989)................................................................... 2, 7
  Ortiz y Pino v. Oliver,
     --- F. Supp. 3d ---, 2025 WL 671821 (D.N.M. Mar. 3, 2025).......................... 9
  Pueblo of Pojoaque v. New Mexico,
    214 F. Supp. 3d 1028 (D.N.M. 2016), aff’d, 863 F.3d 1226 (10th
    Cir. 2017)............................................................................................ 3, 8
  Resorts Int’l, Inc. v. Greate Bay Hotel & Casino, Inc.,
     830 F. Supp. 826 (D.N.J. 1992).................................................................. 4
  Thomson Reuters Enter. Ctr. GMBH v. Ross Intel. Inc.,
  --- F. 3d Supp. ---, 2025 WL 458520 (D. Del. Feb. 11, 2025).......................... 3, 6
  United States v. Jerry,
    487 F.2d 600 (3d Cir. 1973)....................................................................... 3
  United States v. Riverside Med. Grp., P.C.,
    2024 WL 5182395 (D.N.J. Dec. 20, 2024)................................................... 4



                                                       ii
Case 2:25-cv-00849-EP-JRA             Document 45            Filed 04/07/25     Page 4 of 15 PageID: 7027




  USNile Ltd. Liab. Co. v. StormIPTV,
    2014 WL 4637218 (D.N.J. Sept. 16, 2014) .................................................. 3
  Other Authorities
  Fed. R. Civ. P. 62...................................................................................... 2, 7
  Fed. R. Civ. P. 62.1............................................................................... 2, 8, 9




                                                       iii
Case 2:25-cv-00849-EP-JRA     Document 45       Filed 04/07/25   Page 5 of 15 PageID: 7028




        MSN 1 respectfully submits this brief in response to the Court’s April 4, 2025

  order informing the parties that it was considering sua sponte reconsidering its order

  granting Novartis’s motion for a preliminary injunction (ECF 32, hereinafter the

  “Order”) and directing the parties to “brief this issue under the reconsideration

  standard as well as address what impact a potential reconsideration would have on

  the pending motion to stay.” ECF 43.

                          PRELIMINARY STATEMENT

        The Court should reconsider and vacate its Order. As shown in parallel

  briefing on MSN’s Motion to Stay, MSN is likely to show that the Court erred in its

  analysis of irreparable harm, misapplied substantive trademark law, and did not

  make a required determination that Novartis was likely to prevail on all four

  preliminary injunction factors. The Court correctly acknowledged the Order would

  cause “substantial harm” to MSN and acknowledged the vital public interest in

  access to affordable prescription medication. The Court should correct these legal

  errors and prevent manifest injustice by vacating the Order under its broad inherent

  discretion or the standard for reconsideration.

        Prior to the Court’s April 4, 2025 order, MSN filed its notice of appeal of the

  Court’s preliminary injunction order. ECF 35. Federal Rule of Civil Procedure 62.1



  1
    MSN adopts the same defined terms as set forth in its motion for a stay of the
  preliminary injunction order, unless otherwise specified. ECF 37-1 (“Stay Mot.”).

                                            1
Case 2:25-cv-00849-EP-JRA      Document 45       Filed 04/07/25   Page 6 of 15 PageID: 7029




  prescribes the procedural path for the Court to reconsider its Order under such

  circumstances: 2 the Court should issue an indicative ruling that it intends to grant

  reconsideration and dissolve the preliminary injunction if the appeal is remanded.

  See Fed. R. Civ. P. 62.1. MSN will then immediately petition the Third Circuit for

  a remand, and following remand this Court can issue a final, appealable ruling on

  reconsideration. MSN would then dismiss its appeal.

        With respect to the pending Stay Motion, the Court retains jurisdiction to stay

  the injunction despite the notice of appeal. See Fed. R. Civ. P. 62(d) (granting

  district courts power to “suspend” or “modify” an injunction “[w]hile an appeal is

  pending”). Thus, if the Court is inclined to grant reconsideration, it should in the

  interim grant the Stay Motion and suspend the Order pending completion of the

  procedural steps set forth above. Even if the Court is not inclined to grant

  reconsideration, it should still grant the Stay Motion pending appeal, for the reasons

  set forth in MSN’s briefs in support of the Stay Motion.

                                     ARGUMENT

  I.    Legal Standard.


  2
    Although the Court retains jurisdiction to stay its preliminary injunction pending
  appeal, see Fed. R. Civ. P. 62(d), the Court was otherwise divested of traditional
  jurisdiction to reconsider and dissolve that preliminary injunction when MSN filed
  its notice of appeal. See Ortho Pharm. Corp. v. Amgen, Inc., 887 F.2d 460, 464 (3d
  Cir. 1989); Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982) (“The
  filing of a notice of appeal . . . divests the district court of its control over those
  aspects of the case involved in the appeal.”).

                                             2
Case 2:25-cv-00849-EP-JRA     Document 45       Filed 04/07/25   Page 7 of 15 PageID: 7030




        The Court has “inherent power” over its own interlocutory orders and can

  reconsider them sua sponte “when it is consonant with justice to do so.” United

  States v. Jerry, 487 F.2d 600, 605 (3d Cir. 1973); accord Thomson Reuters Enter.

  Ctr. GMBH v. Ross Intel. Inc., --- F. 3d Supp. ---, 2025 WL 458520, at *1 (D. Del.

  Feb. 11, 2025) (Bibas, J.) (sua sponte reconsidering denial of summary judgment);

  Marsden v. Select Med. Corp., 2007 WL 518556, at *1 (E.D. Pa. Feb. 12, 2007) (sua

  sponte reconsidering denial of motion to dismiss).

        Just as the Court’s decision whether to issue a preliminary injunction lay

  within its sound discretion, so would a subsequent decision to vacate it. See, e.g.,

  USNile Ltd. Liab. Co. v. StormIPTV, 2014 WL 4637218, at *3, *6 (D.N.J. Sept. 16,

  2014) (vacating a previously issued injunction under court’s “inherent authority to

  modify a preliminary injunction”). Reconsideration of a preliminary injunction is

  especially appropriate here given the abbreviated factual record before the Court at

  this initial stage of the case and the expedited nature of the briefing. See Pueblo of

  Pojoaque v. State of New Mexico, 221 F. Supp. 3d 1289, 1297 (D.N.M. 2016) (“The

  decision [to reconsider a preliminary injunction] should account for the fact that a

  preliminary injunction is often granted under pressured time constraints, on limited

  evidence and expedited briefing schedules.”).

        In the alternative, the Court can reconsider the Order under the standard for a

  motion for reconsideration, as MSN has shown in its briefing on the Stay Motion


                                            3
Case 2:25-cv-00849-EP-JRA     Document 45       Filed 04/07/25   Page 8 of 15 PageID: 7031




  that there is “the need to correct a clear error of law or fact or to prevent manifest

  injustice.” Max’s Seafood Cafe ex rel. Lou-Ann, Inc. v. Quinteros, 176 F.3d 669,

  677 (3d Cir. 1999); see, e.g., United States v. Riverside Med. Grp., P.C., 2024 WL

  5182395, at *1 (D.N.J. Dec. 20, 2024) (granting reconsideration to correct two clear

  errors of law); Resorts Int’l, Inc. v. Greate Bay Hotel & Casino, Inc., 830 F. Supp.

  826, 832 (D.N.J. 1992) (granting reconsideration of prior summary judgment order

  on trademark infringement claim).

  II.   The Court Should Exercise Its Discretion to Deny Novartis’s Requested
        Preliminary Injunction.
        As MSN has extensively briefed in opposition to Novartis’s preliminary

  injunction motion and in support of its Stay Motion, there exist ample grounds to

  reconsider the Order. That order was based on the following errors of law:

        (1)    The Court did not find that Novartis prevailed on all four preliminary

               injunction factors, in contravention of black letter Third Circuit

               precedent. See Stay Mot. at 33; Order at 18.

        (2)    The Court erred in its application of the legal framework for analyzing

               irreparable harm in trademark cases and accepted Novartis’s entirely

               speculative theory of irreparable harm unsupported by any record

               evidence. See Stay Mot. at 8–15; Order at 17–18.

        (3)    The Court mistakenly applied a heightened standard for functionality

               that contravened binding Third Circuit caselaw. See Stay Mot. at 17–


                                            4
Case 2:25-cv-00849-EP-JRA    Document 45       Filed 04/07/25   Page 9 of 15 PageID: 7032




              20; Order at 9 (finding non-functionality based on the existence of

              alternatives for MSN).

        (4)   The Court erred in holding that Novartis met its formidable burden to

              show its unregistered trade dress had acquired secondary meaning. The

              Court did not consider the overwhelming evidence of third-party use of

              the claimed trade dress features; erroneously held that Entresto’s

              marketing materials were probative of secondary meaning, relied on a

              single affidavit from Novartis’s paid expert as direct evidence of

              secondary meaning; and erroneously relied on Entresto’s sales volume

              as probative of secondary meaning without evidence that those sales

              were driven by the trade dress. See Stay Mot. at 22–28; Order at 10–

              12.

        (5)   The Court erroneously dismissed actual evidence of substantial

              hardship to MSN, including the loss of its first-mover advantage, as

              self-imposed, when MSN simply complied with FDA guidelines and

              standard industry practice—as did several other manufacturers seeking

              FDA approval for a generic version of Entresto. See Stay Mot. at 29–

              30; Order at 18.




                                           5
Case 2:25-cv-00849-EP-JRA     Document 45 Filed 04/07/25      Page 10 of 15 PageID:
                                     7033



      (6)   The Court failed to make any explicit finding on the public interest

            prong, notwithstanding its recognition of the “societal benefits of

            affordable alternatives to brand-name drugs.” Order at 18.

      Thus, dissolving the Order would correct “clear error[s] of law” and prevent

“manifest injustice” to MSN, other generic drug manufacturers, and heart failure

patients writ large. Max’s Seafood, 176 F.3d at 677. Rectifying clear errors of law

is no doubt “consonant with justice.” Marsden, 2007 WL 518556, at *1. Judge

Bibas, sitting by designation in the District of Delaware, recently did just this in

reconsidering sua sponte his prior decision on summary judgment. Thomson

Reuters, 2025 WL 458520, *1.

      Reconsideration is particularly appropriate here because Novartis has not

relied on the Court’s earlier ruling and thus would not be prejudiced by

reconsideration. See DeFranco v. Wolfe, 387 F. App’x 147, 156–57 (3d Cir. 2010)

(affirming district court’s sua sponte reversal of prior denial of summary judgment

where there was no prejudice to nonmovant). The preliminary injunction forces

MSN to face “significant hardship.” Order at 18. Novartis cannot claim prejudice,

because the preliminary injunction imposes no obligations on Novartis, and any loss

of sales experienced by Novartis is fully compensable through money damages. 3


3
  The Order does not require Novartis to post any bond as required by Federal Rule
of Civil Procedure 65, and MSN reserves its right to seek a bond if the Order is not
stayed or dissolved.

                                         6
Case 2:25-cv-00849-EP-JRA     Document 45 Filed 04/07/25        Page 11 of 15 PageID:
                                     7034



III.   The Court Should Suspend the Preliminary Injunction and Issue an
       Indicative Ruling.
       Although the Court retains jurisdiction to stay or suspend the preliminary

injunction pending appeal, see Fed. R. Civ. P. 62(d), the Court lacks jurisdiction to

reconsider and dissolve the preliminary injunction because it is the subject of a

pending appeal, see Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58

(1982). But notwithstanding MSN’s pending appeal, there is a clearly defined

procedural and jurisdictional path for the Court to reconsider the Order.

       First, the Court should suspend the Order by granting MSN’s Stay Motion.4

Under Federal Rule of Civil Procedure 62(d), the Court retains jurisdiction to

suspend a preliminary injunction even when the injunction has been appealed. Fed.

R. Civ. P. 62(d); Ortho Pharm., 887 F.2d at 463. To prevent irreparable harm to

MSN and the public while the Court reconsiders its Order, see Order at 18; Stay

Mot. at 32–33, the Court should stay its Order and restore the status quo for all the

reasons set forth in MSN’s briefs in support of its Stay Motion. See Stay Mot. at

28–30; Stay Mot. Reply at 2.

       Second, if the Court determines that it will grant the reconsideration motion

and dissolve the Order, the Court should issue an indicative ruling pursuant to


4
 Even if the Court decides not to reconsider its Order, it should still grant the Stay
Motion to give MSN the opportunity to seek meaningful appellate relief, as
explained in MSN’s briefs in support of the Stay Motion. Stay Mot. at 34; Stay
Reply Br. at 4 n.3.

                                          7
Case 2:25-cv-00849-EP-JRA      Document 45 Filed 04/07/25       Page 12 of 15 PageID:
                                      7035



Federal Rule of Civil Procedure 62.1.          Although the pendency of MSN’s

interlocutory appeal of the Order temporarily divests the Court of jurisdiction to

dissolve the injunction, the Court retains the power to issue an indicative ruling that

it will grant reconsideration under Rule 62.1, which permits this Court to state “that

it would grant the motion if the court of appeals remands for that purpose or that the

motion raises a substantial issue.” Fed. R. Civ. P. 62.1(a)(3). 5

      Courts routinely issue indicative rulings in circumstances like this one—when

a party seeks relief from a preliminary injunction while it is on appeal. See Ivan A.

v. Anderson, 2021 WL 858608, at *3 (D.N.J. Mar. 8, 2021) (issuing indicative ruling

that court would vacate preliminary injunction upon remand); Pueblo of Pojoaque,

214 F. Supp. 3d at 1123 (issuing indicative ruling that court “would dissolve or

vacate the preliminary injunction if the [d]efendants dismiss the appeal and/or the



5
  The Court can issue an indicative ruling even though MSN has not filed a formal
motion for reconsideration. See Index Newspapers LLC v. City of Portland, 2022
WL 72124, at *2 (D. Or. Jan. 7, 2022) (collecting cases). The Court can construe
this filing—made in response to the Court’s request for briefing on
reconsideration—as a motion for reconsideration, and find the motion to be timely
given that it was filed in response to the Court’s express instructions. Alternatively,
the Court can construe MSN’s Stay Motion, which was filed only seven days after
the Order, as including a timely motion for reconsideration. See, e.g., Mathis v.
Christian Heating & Air Conditioning, Inc., 91 F. Supp. 3d 651, 656 (E.D. Pa. 2015)
(treating motion for clarification as motion for reconsideration); VanLeeuwen v.
Farm Credit Admin., 577 F. Supp. 264, 272 (D. Or. 1983) (treating motion to stay
preliminary injunction as motion for reconsideration of order granting preliminary
injunction). As this brief reflects, the arguments warranting reconsideration are
largely the same as those warranting a stay.

                                          8
Case 2:25-cv-00849-EP-JRA       Document 45 Filed 04/07/25      Page 13 of 15 PageID:
                                       7036



Tenth Circuit remands the case for the [c]ourt’s consideration”); Index Newspapers

LLC v. City of Portland, 2022 WL 72124, at *10 (D. Or. Jan. 7, 2022) (same); Ortiz

y Pino v. Oliver, --- F. Supp. 3d ---, 2025 WL 671821, *4 (D.N.M. Mar. 3, 2025)

(granting defendant’s motion to dissolve preliminary injunction on remand

following indicative ruling).

      Should the Court issue an indicative ruling that it would reconsider its Order,

MSN will immediately seek a limited remand of its Third Circuit appeal. See Fed.

R. Civ. P. 62.1(b). Following remand, the Court can then dissolve the preliminary

injunction consistent with its indicative ruling. See Fed. R. Civ. P. 62.1(c). Novartis

could seek any appropriate relief from the Third Circuit after this Court’s resolution

of the issue.

                                  CONCLUSION

      For the reasons stated herein, the Court should reconsider and deny the

preliminary injunction.




                                          9
Case 2:25-cv-00849-EP-JRA   Document 45 Filed 04/07/25    Page 14 of 15 PageID:
                                   7037



 Dated: April 7, 2025             Respectfully submitted,
                                  /s/ Rebekah Conroy
                                  Rebekah Conroy
                                  STONE CONROY LLC
                                  25A Hanover Road, Suite 301
                                  Florham Park, New Jersey 07932
                                  (973) 400-4181
                                  rconroy@stoneconroy.com

                                  Ron Daignault (admitted pro hac vice)
                                  Richard Juang (admitted pro hac vice)
                                  DAIGNAULT IYER LLP
                                  8229 Boone Boulevard, Suite 450
                                  Vienna, VA 22182
                                  (917) 838-9795

                                  Gianni P. Servodidio (admitted pro hac vice)
                                  Jacquellena T. Carrero (admitted pro hac
                                  vice)
                                  JENNER & BLOCK LLP
                                  1155 Avenue of the Americas
                                  New York, NY 10036
                                  Tel: (212) 891-1600
                                  Fax: (212) 891-1699
                                  gservodidio@jenner.com


                                  Attorneys for Defendants




                                     10
Case 2:25-cv-00849-EP-JRA    Document 45 Filed 04/07/25      Page 15 of 15 PageID:
                                    7038



                       CERTIFICATE OF SERVICE

      I hereby certify that on this 7th day of April, 2025, I caused a copy of the

foregoing to be served upon all counsel of record via ECF notification.


                                                  /s/ Rebekah Conroy
                                                  Rebekah Conroy




                                       11
